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                                   6                               UNITED STATES DISTRICT COURT

                                   7                              NORTHERN DISTRICT OF CALIFORNIA

                                   8

                                   9     IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 22-md-3047-YGR
                                         ADDICTION/PERSONAL INJURY
                                  10                                                       MDL No. 3047
                                         PRODUCTS LIABILITY LITIGATION
                                  11                                                       CASE MANAGEMENT ORDER NO. 24
                                  12     This Document Relates to:                         Upcoming Case Management Conferences:
Northern District of California
 United States District Court




                                         All Actions                                       July 18, 2025 at 9:00 a.m.
                                  13
                                                                                           August 20, 2025 at 2:00 p.m. (changed)
                                  14                                                       September 19, 2025 at 10:30 a.m.
                                                                                           October 24, 2025 at 9:00 a.m.
                                  15                                                       November 19, 2025 at 2:00 p.m.
                                                                                           December 15, 2025 at 9:00 a.m. over Zoom
                                  16

                                  17   TO ALL PARTIES AND COUNSEL OF RECORD:
                                  18          The Court held a further case management conference in the above-captioned matter on
                                  19   June 13, 2025. This order memorializes and expands upon the deadlines set and findings made by
                                  20   the Court during that conference.
                                  21          I.       BELLWETHER SELECTION
                                  22          The parties submitted briefing to the Court on selecting school district and individual
                                  23   plaintiff bellwether cases from the bellwether trial pool. (Dkt. Nos. 1966, 1967, 1968, 1969, 1970,
                                  24   and 1971.) 1 The Court considered the briefing and heard some additional argument on the
                                  25   prospective bellwethers.
                                  26

                                  27          1
                                               The Court grants plaintiff and defendant’s administrative motions to file under seal. (Dkt.
                                  28   Nos. 1968 and 1969.)
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                                   1          School Districts. The following six (6) cases will serve as school district bellwethers:

                                   2
                                                                             School District Bellwethers
                                   3                      Case Name                       Member Case Number           Lexecon Objection
                                   4        Board of Education of Harford County
                                                                                               4:23-cv-03065                    No
                                            v. Meta Platforms, Inc., et al.
                                   5        DeKalb County School District v. Meta
                                                                                               4:25-cv-02310                   Yes
                                            Platforms, Inc., et al.
                                   6        Breathitt County Board of Education v.
                                                                                               4:23-cv-01804                    No
                                            Meta Platforms, Inc., et al.
                                   7
                                            Irvington Public Schools v. Meta
                                                                                               4:23-cv-01467                    No
                                   8        Platforms, Inc. et al.
                                            Tuscan Unified School District v. Meta
                                   9                                                           4:24-cv-01382                    No
                                            Platforms, Inc., et al.
                                            Charleston County School District v.
                                  10                                                           4:23-cv-04659                    No
                                            Meta Platforms, Inc., et al.
                                  11   The Court will finalize its intercircuit assignment in DeKalb County School District v. Meta
                                  12   Platforms, Inc., et al., which lodged a Lexecon objection. (Dkt. No. 792.) Because Breathitt
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                                  13   County Board of Education v. Meta Platforms, Inc., et al. serves a rural population, the Court is
                                  14   considering holding the Breathitt trial in the Northern District of California’s Eureka Division.
                                  15          Individual Plaintiffs. The following five (5) cases will serve as individual plaintiff
                                  16   bellwethers:
                                  17
                                                                          Individual Plaintiff Bellwethers
                                  18
                                                         Case Name                        Member Case Number           Lexecon Objection
                                  19        D’Orazio v. Meta Platforms, Inc., et al.         4:23-cv-03751                    No
                                  20        Smith v. Meta Platforms, Inc., et al.              4:23-cv-05632                    No
                                  21        Melton v. Meta Platforms, Inc., et al.             4:22-cv-06627                    No

                                  22        Mullen v. Meta Platforms, Inc., et al.             4:23-cv-00600                    No

                                  23        Clevenger v. Meta Platforms, Inc., et al.          4:22-cv-06457                    No

                                  24   Should any individual bellwether settle, be resolved on summary judgment, or otherwise not be

                                  25   tried, the Court will revisit including S.K. v. Meta Platforms, Inc., et al., (No. 4:23-cv-01584) 2 as a

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                                  27          2
                                               The Court grants S.K.’s administrative motion to seal and motion for leave. (Dkt. Nos.
                                  28   2008, 2009.)

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                                   1   bellwether plaintiff.

                                   2           II.     MOTION TO PRECLUDE

                                   3           The Court heard argument on defendants’ motion to preclude school district plaintiffs from

                                   4   relying on late-disclosed witnesses in three cases. (Dkt. No. 1951.) Of those three cases, only one

                                   5   (Tuscan Unified School District) is relevant for bellwether purposes. There, on the last day of

                                   6   discovery, Tuscan disclosed two additional witnesses: a student and a school-level administrator.

                                   7   Defendants argue that Tuscan’s late disclosure prejudices them because school district plaintiffs,

                                   8   including Tuscan, consistently represented that their cases rested on district-level—not school-

                                   9   level or student-level—discovery. The school districts respond that Tuscan diligently investigated

                                  10   its case and only recently discovered those witnesses. Moreover, as to the identified school

                                  11   administrator, custodial documents for that individual have already been produced, and several

                                  12   other school districts, including certain other bellwethers, disclosed similar hybrid school-
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                                  13   level/district-level witnesses.

                                  14           The Court ruled from the bench that Tuscan may not rely on the disclosed student witness

                                  15   but may rely on the disclosed school-administrator witness. The parties shall meet and confer to

                                  16   complete discovery for that witness in a timely fashion. The Court will not modify the case

                                  17   schedule.

                                  18           III.    ADMINISTRATIVE

                                  19           The Court ADVANCES the August case management conference from August 22, 2024 to

                                  20   August 20, 2024 to accommodate the Court’s trial schedule. The conference remains at 2:00 p.m.

                                  21           This terminates Dkt. Nos. 1951, 1968, and 1969, 2008, and 2009.

                                  22           IT IS SO ORDERED.

                                  23   Dated: June 16, 2025

                                  24                                                    ______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  25                                                           UNITED STATES DISTRICT JUDGE
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